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~                                    UNITED STATES DISTRICT COURT .

                                EASTERN DISTRICT OF NORTH CAROLINA

                                               WESTERN DIVISION

        MARGARET REAVES, PROSE
                                        Plaintiff,

                        vs.                                                                  ----·;

    J 0 # /'J r. 13EN.J"I:JIJJC 1\J J7<
    J74 I< Ei" R. G-J!J PII .CJ
        C   ~c :t'J..   C.A IJJ)J ·
        Pflrl-IP            tJ. Gtn-:is

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                                                        · . 'COMPLAINT


        Margaret Reaves (''Plaintiff,"· ''Borrower''), individually, alleges as follows


                                           NATURE OF THE ACTION

            1. Plaintiff brings this action on her own behalf whose residential mortgage loan is or was at

               ·any time serviced by one or more of the Defendants.

            2. As alleged herein, Defendant. violated federal, state and common law in connection with

                its servicing of Plaintiff's mortgage loans. Defendants have wrongfully; (i) Started

                foreclosure without proper authority;


        § 45-107. Foreclosure filing. The clerk of superior court or other judicial officer may have

        access to the pre:foreclosure database to confirm information provided in subsection (a) of this

        section.   A materially inaccurate statement in the certification shali be cause for dismissal


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       without prejudice of any foreclosure proceeding on a primary residence initiated by the mortgage

       servicer and for paym~t by the filing party of costs incurred by the borrower in defending the

       toreclosureproceeding. (2008•226, s.1; 2010-158, ss.l, 9; 2012-79, s. 2.17(g).) __-- -:~~-, _

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       (ii) failed to respond to inquiries by _plaintiff within the time required by law; (iii) when it did

       respond, Defendant- failed to do so timely as required by law; (iv) failed to properly credit

       payments received from plaintiff; (v) failed to notify plaintiff that payments received from her

       were not being credited, but rather held for an unreasonable duration of time; (vi) failed to return

       within a reasonable time payments that were not credited to Plaintiff; (vii) failed to provide

       Plaintiff with true and accurate explanations of the activity in her accounts and/or of the specific

       reasons for actions taken by Defendant:_.; (viii) notified Plaintiff that they and other Defendant:·_

       bad commenced foreclosure or other proceedings, notwithstanding that it was not permitted to

       commence those proceedings; (ix) failed to timely and clearly advise Plaintiff of changes to her

       obligations predicated upon Defendant~' fiat; and (x) frustrated and/or harassed Plaintiff who

       attempted to find out more information concerning hef mortgages and her rights and obligations

       thereunder. Indeed, Defendant_ ·have been charged by various state Attorneys General of acting

       deceptively to its "clients" in connection with the performance of its duties.


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